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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT




TARAH KYE BOROZNY, et al.; on behalf of
themselves and all others similarly situated,

                               Plaintiffs,

       vs.                                                  Case No.: 3:21-1657 (SVN)

RAYTHEON TECHNOLOGIES
CORPORATION, PRATT & WHITNEY
DIVISION; et al.,

                               Defendants.


        ORDER REGARDING THE PROTOCOL FOR PRODUCTION
OF ELECTRONICALLY STORED INFORMATION AND HARD COPY DOCUMENTS

        WHEREAS, the above consolidated action, brought by Tarah Kye Borozny, Anthony

DeGennaro, Ryan Glogowski, Ellen McIsaac, Scott Prentiss, Alex Scales, Austin Waid-Jones,

Nicholas Wilson, and Steven Zappulla (collectively, Plaintiffs ) against Defendants Raytheon

Technologies Corporation, Pratt & Whitney Division; Agilis Engineering, Inc.; Belcan LLC;

Cyient, Inc.; Parametric Solutions, Inc.; and QuEST Global Services-NA, Inc., (collectively,

 Defendants ) is pending before this Court;

        WHEREAS, the Parties seek to facilitate the exchange of ESI and Hard Copy Documents

in this action, pursuant to this Court s authority and with the consent of the Parties; and

        WHEREAS, the Parties and the Court recognize that this ESI and Hard Copy Documents

protocol is based on facts and circumstances as they are currently known to each Party, that the

electronic discovery process is iterative, and that additions and modifications to this protocol may

become necessary as more information becomes known to the Parties.
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IT IS HEREBY ORDERED:

 1.     DEFINITIONS

       1.1       Action means Borozny, et al. v. Raytheon Technologies Corporation, Pratt &

Whitney Division, et al., No. 3:21-1657 (SVN) and all cases consolidated with that matter.

       1.2                                                               by a custodian for relevant

business purposes in or on which a custodian stores potentially relevant Documents, ESI, or Hard

Copy Documents, but                                                                  -Custodial Data

Sources, whether or not created or generated by a custodian, which may include but are not

limited to computers, laptops, tablets, E-mail, network servers or folders, cloud storage systems,

or structured data systems.

       1.3       Document shall have the meaning contemplated by Rule 26(c)(2) of the Local

Rules of Civil Procedure of the United States District Court for the District of Connecticut ( Local

Rules ) and Federal Rule of Civil Procedure 34(a)(l)(A). A draft or non-identical copy is a separate

document.

       1.4

constituting a logical single communication of information but consisting of more than a single

stand-alone record. Examples include a fax cover, the faxed letter, and an attachment to the letter

                                                                                    or an E-mail and

associated attachments, or a presentation with embedded files. The Parties agree to meet and confer

concerning the treatment of hyperlinked ESI referenced in E-mails or other platforms.

       1.5       ESI is an abbreviation of electronically stored information and shall have the

same meaning it has in Federal Rule of Civil Procedure 34(a)(l)(A).

       1.6       Extracted Text means the text extracted from a Document, and includes all



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header, footer, and document body information.

native files extracted directly from the native file, or, in the case of Hard Copy Documents or

scanned PDF documents, subject to OCR, a file containing the text resulting from the OCR.

       1.7

       1.8                                          -time communication sent via chat or SMS,

including, but not limited to, Bloomberg Chat, AOL Instant Messenger, Blackberry Messenger,

ICQ, Pidgin, Audium, Trillian, iMessage, Teams, WhatsApp, Facebook Messenger, or any other

proprietary instant messaging system.

       1.9      Load/Unitization File means an electronic file containing information identifying

a set of paper-scanned images, processed ESI, or native format files, as well as the corresponding

Extracted Text or OCR text files, and containing agreed-upon extracted or user-created metadata,

as well as information indicating unitization (i.e., Document breaks and Document relationships

such as those between an E-mail or Instant Message and its attachments, or a Document and

information related to embedded content). A Load/Unitization File is used to import all image,

native, and text files and their corresponding production information into a document database.

The Producing Party shall produce a load/unitization file ( load file ) for all produced Documents

in accordance with specifications provided in Exhibit A.

       1.10         -

by any particular custodian but which may contain potentially relevant Documents or ESI,

including data sources used by any department, business unit, or division of a Producing Party,

and shared storage systems that may contain potentially relevant information, such as electronic

mail systems, backup systems or backup media, or archival systems or archival storage.

       1.11     OCR means the optical character recognition technology used to read Hard Copy



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Documents or electronic images of Documents and output such Documents to a searchable text

format. The latter text is also referred to as the OCR text or simply OCR.

       1.12     Party   or   Parties     means, individually or collectively, all Plaintiffs and

Defendants, as well as any later added plaintiffs and defendants.

       1.13     Producing Party means any Party or third party that produces Hard Copy or ESI

Documents in this Action.

       1.14     Requesting Party means any Party that requests production of information,

Documents, or ESI in the Action.

       1.15      Structured Data means data that resides in a fixed field within a record or file,

or stored in a structured format, such as databases (such as Oracle, SQL, Access) or data sets,

according to specific form and content rules as defined by each field of the database.

       1.16      Tagged Image File Format or TIFF refers to the CCITT Group IV graphic file

format for storing bit-mapped images of ESI or Hard Copy Documents. For files produced as TIFF

images, each page of a Document shall be electronically saved as an image file, as outlined in

Exhibit A.

       1.17                            -Assisted Review) means a process for prioritizing or coding

a collection of ESI using a computerized system, using algorithms or systematic rules, that

harnesses human judgments of subject matter expert(s) on a smaller set of Documents and then

extrapolates those judgments to the remaining Documents in the collection. TAR systems

generally incorporate statistical models and/or sampling techniques to guide the process and to

measure overall system effectiveness.

       1.18                                           -form data which either does not have a data

structure or has a data structure not easily readable by a computer without the use of a specific



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program designed to interpret the data, including but not limited to, word processing documents,

slide presentations, E-mail, PDFs, spreadsheets, and webpages, blogs, image files, Instant

Messages, audio and video files, and others of similar variable format.

 2.     SCOPE

        2.1     The procedures and protocols set forth in this Order shall govern the production

format of Hard Copy Documents and ESI in this Action unless the Parties agree in writing to

change them or the Court changes them at the request of a Party.

        2.2     The Parties are aware of the importance the Court places on cooperation and

commit to cooperate in good faith throughout the Action

The proportionality standard set forth in Fed. R. Civ. P. 26(b)(2)(C) should be applied in each

case when formulating a discovery plan.

        2.3     This Order does not define the scope of production, nor the relevance of any

particular information. This Order is intended to aid the Parties by providing a more predictable,

cost-effective, and efficient management structure for the maintenance and production of

electronic discovery. Nothing in this Order establishes any agreement as to either the temporal

or subject matter scope of discovery in the Action, except as expressly stated. The discovery

requests, objections thereto, agreements of the Parties, applicable law and rules and any Court

orders shall govern the scope of Documents to be produced. Nothing in this Order is intended to

be inconsistent with or to exceed a Party s obligations under the Local Rules, the Federal Rules

of Civil Procedure, or other applicable statutes, laws or requirements.

        2.4     As outlined in Federal Rule of Civil Procedure 26(b)(2)(B), a Producing Party

need not ordinarily provide discovery of ESI from sources that it identifies as not reasonably

accessible because of undue burden or cost, which sources a Producing Party shall disclose in a



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manner compliant with the Local Rules and Federal Rules of Civil Procedure. The Parties shall

promptly meet and confer as to any disputes concerning such disclosure. However, for purposes

of this ESI Protocol, the Parties agree that the following data categories shall be deemed

inaccessible and therefore, not discoverable, and should not be preserved:

            a)      Deleted, slack, fragmented, or other data only accessible by forensics.

            b)      Random access memory (RAM), temporary files, or other ephemeral data

                    that is difficult to preserve without disabling the operating system.

            c)      Online access data such as temporary internet files cache, and cookies.

            d)      Data in metadata fields that are frequently updated automatically, such as last

                    opened date.

            e)      Backup and archive data that are substantially duplicative of data that are

                    more accessible elsewhere.

         2.5     The production specifications in this Order and Exhibit A hereto apply to

 Documents that are produced in this Action, except that, to the extent any Party is required or

 agrees to re-produce Documents in this Action that originally were produced or prepared for

 production in other cases or government investigations, if relevant to this Action, such

 Documents may be produced in the same format in which they originally were produced or

 prepared for production, along with any previously produced metadata, load files and

 accompanying text files, and same Bates numbers and confidentiality designations as is

 appropriate. This paragraph addresses the format of production only and does not impose any

 obligation to produce documents produced in other proceedings. The Requesting Party reserves

 the right to make particularized requests for additional metadata from the Producing Party and

 the Producing Party shall not unreasonably deny such requests.




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        2.6     The Parties do not waive any objections including to the responsiveness,

production, discoverability, possession, custody, control, or confidentiality of Documents,

including (without limitation) objections regarding the burden, over-breadth, or relevance of any

document requests, or any other objection under the Local Rules or Federal Rules of Civil

Procedure. Nothing in this Stipulated Order shall be interpreted to require the disclosure of

information that is otherwise not discoverable under the Local Rules, Federal Rules of Civil

Procedure, or other applicable statutes, laws or requirements.

 3.     PRODUCTION FORMAT

        3.1     Subject to the other provisions contained herein, including those pertaining to

redaction and withholding of Documents, a Document should be produced together with its entire

Document Family. For example, a responsive E-mail should include the E-mail itself, plus

associated attachments. Similarly, if a Document is produced that is an attachment to an E-mail,

the cover E-mail and other associated attachments to the cover E-mail should also be produced.

        3.2    If a member of a Document Family that has otherwise been determined to be

responsive cannot technically be processed (e.g., unsupported file format, file corruption,

inaccessible password-protected Document), those technical problems shall be identified and

disclosed to the Requesting Party by production of a Bates numbered slipsheet that states

 Technical issue-file cannot be processed (or similar language). Appropriate metadata for the

file with the technical problem shall be produced if technically possible and reasonable. A

Requesting Party may thereafter raise with the Producing Party any questions or concerns, and

the Parties shall meet and confer regarding any issues.

        3.3    (a) A Party may redact or withhold responsive documents only on grounds of (1)

attorney-client privilege; (2) protection under the work-product doctrine; or (3) any other

applicable privilege or protection. A Party may also redact or withhold an attachment to an E-


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mail that contains CONFIDENTIAL-                                              -responsive business

information. Additionally, because of the risk of irreparable harm to individuals, such as identity

theft: (1) an otherwise responsive Document that contains non-public personal information or

protected health information1 of (a) customers or patients or potential customers or patients, (b)

individual Plaintiffs, (c) individual employees or agents of the Parties, or (d) individuals not a



be redacted to exclude PIHI; (2) a Document that is a member of a family that includes one or

more responsive documents may be withheld if it contains exclusively PIHI. The Producing Party

shall redact the minimal amount of PIHI to comply with applicable statutes or regulations. If any

member of a Document Family is responsive, the Producing Party shall produce all family

members and/or portions thereof that are not independently protected as described in this

paragraph. Notwithstanding the foregoing, to the extent that any withheld PIHI or NPPI is

reasonably necessary (e.g., to understand a document or for use in any expert analyses or reports),

the Parties shall meet and confer with respect to parameters of such disclosure.

                (b) If a Party claims that a member of a Document Family that contains a

responsive document is privileged or otherwise protected per Paragraph 3.3(a), it may be redacted

or produced as a Bates-labeled slipsheet in place of the attachment, along with all metadata for

the attachment as specified in Exhibit A, except that the Full Text Metadata field and any

protected information in other fields need not be populated. The TIFF slipsheet for each withheld



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                       -
addresses (except city and state), Social Security numbers, taxpayer identification numbers,
                          credit card numbers, and financial and bank account numbers; and

relating to the past, present, or future health status of an individual as defined in the Privacy Rule
implementing the requirement of the Health Insurance Portability and Accountability Act of



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attachment will state Family Member Withheld as Privileged (or similar language). The Parties

agree to meet and confer in good faith regarding any disputes arising under this provision.

                (c) In the event that a Party initially withholds a Document that forms a part of a

Document Family, and that Document is later produced either by decision of the Party or by order

of the Court, the Party shall produce that Document such that the slipsheet previously replacing

that document in the production is easily identifiable.

                (d) Where possible, the Producing Party shall provide updated metadata

associating the previously withheld Document with its Document family.

        3.4     The Parties shall meet and confer in good faith regarding any disputes that may

arise under this Order, prior to seeking assistance from the Court.

        3.5     Format Guidelines. The Parties shall produce Hard Copy Documents and ESI

according to the specifications provided in this Order and Exhibit A hereto. The Parties agree to

meet and confer in good faith if any of the technological specifications set forth in this Order or

Exhibit A result in technological issues. The Parties agree not to degrade the searchability of

Documents as part of the Document production process, subject to the provisions herein.

        3.6     De-Duplication. The Parties shall use reasonable, good faith efforts to avoid the

production of duplicate ESI. The Parties agree that production of ESI Documents globally de-

duplicated to remove exact duplicate Documents shall constitute production of Documents as

maintained in the ordinary course of business provided that a single copy of the responsive

Document or record is produced. Near-duplicate Documents shall be produced rather than

removed. No Party shall eliminate duplicates of hard copy or electronic Documents by manual

review. Exact duplicates shall be defined as ESI with exact MD5 or SHA-1 hash values. Where

any such Documents have attachments, hash values must be identical for both the Document


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plus attachment(s) (including associated metadata) as well as for any attachment (including

associated metadata) standing alone. For E-mail, the MD5 or SHA-1 hash values should be

calculated at the family level and include the full body of any and all attachments, as well as the

                         c,

values to the extent used in that calculation. To the extent a Producing Party seeks to use a de-

duplication methodology other than one described in the preceding sentences, the Producing

Party shall disclose such methodology and either Party may seek to meet and confer concerning

that methodology. When the Producing Party is globally de-duplicating across custodians, the

Producing Party shall populate a field of metadata that identifies each custodian who had a copy

of the produced Document (the Duplicate Custodian field) in addition to a separate field of data

identifying the custodian whose Document is produced.

       3.7      Email Thread Suppression                           E-mail thread supp         . As

used in this Protocol, email thread suppression means reducing duplicative production of email

threads by producing the most inclusive email containing the thread of emails, as well as all

attachments within the thread, and excluding E-mails constituting duplicates of E-mails within

the produced string. For purposes of this paragraph, only E-mail messages in which the parent

document and all attachments are exactly the same will be considered duplicates. Nothing in this

paragraph shall permit a Party to separate or break E-mail threads in favor of reducing volume.

The Producing Party shall make commercially reasonable efforts to include the metadata listed

in Exhibit A that is maintained and provided in the load file from the suppressed E-mails, with

the exception of the Subject, FileName, and Full Text fields. To the extent the Producing Party

identifies additional suppressed E-mail metadata fields that are excessively burdensome for

review/redaction, the Parties shall meet and confer to discuss their exclusion from production.



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The Requesting Party may request the Producing Party produce a copy of a reasonable number

of specific unthreaded E-mails from a

the deposition, which request shall not unreasonably be refused.

        3.8     Documents To Be Produced Natively. A Producing Party shall produce Microsoft

Excel and other spreadsheet files, including comma or tab delimited text files, and audio and

video files in native format except where such files are redacted in accordance with this Order.

Other document types which may be difficult or costly to be accurately imaged, such as large

Microsoft Power Point and image files, may be selected to be produced natively at the Producing

                   The production of Structured Data, which the Parties may, from time to time,

agree is also to be produced in its native format, is governed by Paragraph 3.13.

       The production Load Files shall contain a link to the produced native format files as

specified in the   Native Link metadata field described in Exhibit A. Each electronic file

produced in native format shall be assigned a unique Bates number as set forth in Paragraph 3.14,

and for each a single page placeholder TIFF image branded with this unique Bates number, the

phrase PRODUCED IN NATIVE FORMAT (or similar language), and the corresponding

confidentiality designation under the Protective Order will be produced. No Party may attach to

any pleading or any correspondence addressed to the Court, Special Master, or any adverse or

third party, or submit as an exhibit at a deposition or any other judicial proceeding, a copy of any

produced native format Document without ensuring that either the corresponding placeholder

slipsheet is attached to the Document or the corresponding Bates number and confidentiality

legend, as designated by the Producing Party, appears on the Document.

        Responsive ESI produced in native format shall be produced with all required metadata



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to the extent reasonable consistent with Exhibit A. Extracted Text taken from natively produced

files will be provided at a Document level. There will be one text file per Document, using the

same name as the beginning Bates number of the Document. The extracted text file for a

Document will reside in a folder titled TEXT. The text file associated with any redacted

Document will exclude redacted text (i.e., the Producing Party will OCR the redacted image and

replace the original extracted text).

        A Party may request the production of particular Documents in a format other than as

specified in this Protocol. The Parties shall thereafter meet and confer, and the Producing Party

shall not unreasonably deny such particularized requests.

        Where the Document produced only in TIFF format that is requested in Native Format

contains redactions, the Producing Party will, if reasonable, produce a version of the native

format Document containing redactions. If the Producing Party is unable to do so, the Parties will

meet and confer.

        3.9     Hard Copy Documents. Black-and-

be produced as single-page, B&W group IV TIFFs imaged at 300 dpi. To the extent that a static

image has been created of any Hard Copy Document containing color and/or grayscale, such

static image containing color and/or grayscale shall be produced. If not previously imaged in

color or grayscale, the Parties will use reasonable efforts to produce Hard Copy Documents

containing color and/or grayscale as static images with grayscale and color, respectively;

however, a Party may, unless previously imaged in color and/or grayscale, produce documents

containing color in grayscale if it determines that the color-portion of a document is minimal and

that produ

document (e.g., a letter where the only color included is a corporate logo on the first page).



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Notwithstanding such a provision, reasonable requests to produce grayscale documents in color

shall be accommodated. If, in the ordinary course of business, responsive Documents are

maintained in a file, folder, envelope, binder, notebook or similar container used to store

Documents, all contents therein shall be reviewed for production and privilege unless the

Producing Party determines that such process is not reasonable, in which case, the Producing

Party shall notify the Receiving Party and the Parties shall meet and confer on an alternative

production process.

        3.10    Unitization. If a Document is more than one page, to the extent possible, the

unitization of the Document and any attachments or affixed notes shall be maintained as it existed

in the ordinary course of business when collected by the Producing Party (i.e., distinct Documents

should not be merged into a single record, and a single Document should not be split into multiple

records). The Producing Party shall take reasonable steps to physically and logically unitize Hard

Copy Documents. For example, Documents stored in a binder, folder, or similar container (each,



pages that are stapled or clipped shall be produced as a single document and not multiple one-

page documents. The Producing Party shall undertake reasonable efforts to, or have its vendors,

logically unitize (i.e., use cues such as consecutive numbering, report titles, similar headers and

footers, and other logical cues that indicate the pages belong together) Hard Copy Documents

that are not otherwise bound. The Producing Party shall make reasonable best efforts to unitize

Hard Copy Documents correctly. This provision does not obligate any Producing Party to

reassemble Document Families for Hard Copy Documents that are not stored or maintained as

Document Families in the location in which members of that family are found or as they are kept

in the ordinary course of business. Nor shall this provision obligate any Producing Party to make

whole any Document that is not stored or maintained in its complete form.


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       3.11    Social Media. The Parties shall meet and confer to address the collection and

production format of any responsive documents and data contained on any social media platform,

                                , or control. The Parties recognize that there is no tool that can

capture all potentially relevant social media ESI. Therefore, should responsive information in a

                            , or control reside on social media, the Parties may satisfy any

discovery obligations in different manners which may include but not be limited to producing



tools. The Producing Party shall provide document level OCR text files to accompany any TIFF

or other image format production. To the extent reasonably available, the minimum data that must

be provided for information produced from a social media platform will be BEGBATES,

ENDBATES,       CUSTODIAN(S),        SOCIAL         MEDIA   PLATFORM,        SOCIAL      MEDIA

USERNAME, SOCIAL MEDIA CUSTODIAN(S), and TEXT, indicating the beginning and

ending Bates numbers, the custodian information, and the OCR text.

       3.12    Mobile and Handheld Device Documents and Data. Requesting and Producing

Parties shall meet and confer to address the collection and production format of any responsive

Documents and data contained on any mobile or handheld device, to the extent discoverable and

within the possession, custody, and control of the Producing Party.

       3.13    Structured Data. To the extent a response to discovery requires production of

discoverable electronic information contained in a database (including Microsoft Access files) and

the responsive data cannot reasonably be produced in either Excel or .csv format, in advance of

producing such information, the Parties agree to meet and confer regarding the format of the

production (e.g., commercial database, or some other agreed-upon format). The Producing Party

will answer reasonable requests to explain fields provided and any codes or abbreviations




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contained in the structured data, through a meet and confer process.

        3.14 Bates Numbers and Confidentiality Designations for TIFF Images. Each page of a

Document produced in TIFF file format shall have a legible, unique fixed-length numeric identifier

( Bates number ) electronically burned onto the image at a place on the Document that does not

obscure, conceal, or interfere with any information originally appearing on the Document. Bates

numbers should not be included in the Extracted Text of ESI. The Bates number for each

Document shall be created so as to identify the Producing Party. To that end, each Party s Bates

numbers shall have unique identifying prefixes. If a Document is produced subject to a claim that

it is Confidential under the Protective Order (ECF No. 4), each page of the Document shall have

the appropriate confidentiality designation electronically burned onto the image at a place on the

Document that does not obscure, conceal, or interfere with any information originally appearing

on the Document.

        3.15    Metadata Fields and Processing. The Parties shall not remove any metadata from

any Document prior to its production (provided, however, that metadata may be removed on the

basis of privilege, work product protection, or applicable data privacy or other data protections)

and shall produce Documents with, at least, all agreed upon metadata fields identified in Exhibit

A to the extent reasonably available. However, the Parties are not obligated to populate manually

any of the fields in Exhibit A, with the exception of the following, which must always be

populated: (a) BegBates, (b) EndBates, (c) Custodian, (d) Page Count, (e) Production Volume,

and (f) Confidentiality. Additionally, the Parties must populate the following fields in Exhibit A

if applicable: (a) BegAttach, (b) EndAttach, (c) Hash Value, and (d) Duplicate Custodian (if

Documents are being de-duplicated across custodians and a duplicate Document exists).

Metadata identified in Exhibit A shall be provided in a Concordance format delimited file as


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outlined in Exhibit A. With the exception of the fields which the Parties have agreed to manually

populate as noted herein, nothing herein shall require a Producing Party to create or produce

metadata that does not exist in the data as kept in the ordinary course of business or is not

reasonably or technically accessible. Unless otherwise specified, by producing metadata, the

Producing Party affirms that such metadata came from its records, with the exception of the

manually populated fields outlined above.

        3.16    Production Method. The Producing Party shall produce Document images, native

format files, Load Files, and metadata by secure FTP link or other file sharing platform link,

provided via email at the time a production letter is emailed, unless such transfer is unreasonable

or the Parties agree otherwise. Productions made via FTP or electronic transfer are not required

to be supplemented with hard media containing the same Documents. On the occasion in which

a particular production is of a size that would make sending it via FTP/file sharing platform link

impractical, the Parties may agree to send encrypted physical media such as a Hard Drive or USB

                        Each piece of Production Media shall include a unique identifying label

including the following information: (a) name of the Action and its case number; (b) name of the

Producing Party; (c) the date of the production; (d) production volume number; and (e) the Bates

number ranges of the Documents in that production. To the extent that the Production Media

includes any Confidential Information protected under any Protective Order entered by the Court,

the label on such Production Media shall indicate that the Production Media includes information

so designated. Further, any replacement Production Media shall cross-reference the original

Production Media, clearly identify that it is a replacement, and cross-reference the Bates number

range that is being replaced. All Production Media that is capable of write protection should be



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write-protected before production. All Production Media shall be encrypted, with the Producing

Party to provide a decryption key at the time of production.

        3.17   Redacted Documents. To the extent a Document requires redaction, the Parties

agree that the native version need not be produced, full text may be replaced with OCR text that

excludes the redacted material, and Metadata fields may be excluded if they contain redacted

material. The image file should indicate it is redacted (e.g., through a black box or showing the

word Redacted and the reason for the redaction), where applicable. A production Load File

field should be populated to indicate the Document contains a redaction. Metadata fields may be

withheld if they contain information that may be redacted pursuant to this Paragraph.

        If a Document to be produced in native format contains information that may be redacted

pursuant to this Paragraph 3.17, the Document may be produced by producing the Document

either in redacted TIFF format, or in native format with the redactable information withheld, as

long as the Document or its produced metadata indicates that it has been redacted. The Parties

agree to meet and confer in good faith regarding any dispute arising under this Paragraph.

        3.18 Attachments. E-mail attachments and embedded files must be mapped to their




attachments and embedded files cannot be separated from their parent Documents, then



attachment or embedded Document must be included. Non-substantive automatically-generated

embedded files, such as logos, embedded, non-substantive formatting files such as .ole or .dll

formats, zero-byte files, widgets, or confidentiality legends need not be produced as separate

attachments. To the extent they are maintained together, all Documents in a Document Family


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shall be consecutively Bates Number stamped with the child Documents produced immediately

after the parent-document.

         3.19 Text Files. Each Document produced under this ESI Protocol shall be accompanied

by a single, multipage text file containing all of the text for that Document (as opposed to one text

file per page of such Document). Each text file shall be named using the Bates Number of the first

page of the corresponding production item.

         (a)   ESI: The text of each ESI item shall be extracted directly from the ESI native file.

To the extent that is not reasonably possible (e.g., the underlying native file is an image file), the

text for each ESI item shall be generated by applying OCR to the native file under the provision

above. For contacts and calendars, user modifiable fields shall be extracted and produced as text.

         (b)   OCR: To the extent that Documents have been run through OCR software, the full

text shall be provided on a document-level basis in an appropriately formatted text file (.txt) that



folder. To the extent that a Document is redacted as allowed under Paragraph 3.17, the text files

shall not contain the text of the redacted portions, but shall indicate where the redactions were

made, e.g., with the

Documents that do not natively exist in a text-searchable format.

         3.20 Password Protected Files. The Producing Party shall make reasonable efforts to

ensure that all encrypted or password-protected Documents are successfully processed for review

and production under the requirements of this ESI Protocol, and the decrypted Document is

produced. To the extent encrypted or password-protected Documents are successfully processed

according to the requirements of this ESI Protocol, the Producing Party has no duty to identify the

prior encrypted status of such Documents. To the extent such Documents are not successfully




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processed, the Producing Party agrees to: (a) produce a slipsheet for each encrypted or password

protected Document that cannot be successfully processed indicating that the Document cannot be

decrypted; and (b) provide the metadata for the Document required by Exhibit A to the extent it

can be reasonably extracted from the file in its encrypted form. Notwithstanding the preceding

sentence, a Producing Party need not produce a slipsheet or provide metadata for encrypted

attachments in otherwise non-responsive Document Families that are encrypted, but do not appear

reasonably likely to contain responsive material. The Requesting Party and/or Producing Party, as

appropriate, shall meet and confer regarding any requests that a Producing Party undertake

additional efforts to decrypt files after production. If the Parties are unable to agree after meeting

and conferring in good faith, the Parties may notify the Court or an appointed discovery master of

their unresolved dispute(s) and seek resolution by the Court or an appointed discovery master.

         3.21 Embedded Documents. Embedded ESI documents (e.g., a spread sheet embedded

within a word processing document) will be extracted, produced as an independent Document, and

treated like attachments to the document in which they were embedded (e.g., standalone file, E-

mail message, tec.) via the BegAttach and EndAttach fields referenced in Exhibit A, subject to the

above provisions in Paragraph 3.18. Related embedded documents will be produced within a

continuous Bates Range. Graphic objects embedded within documents or emails, such as logos,

signature blocks, and backgrounds need not be extracted as separate documents.

         3.22 Compressed and Container files. Compression file types (e.g., .CAB, .GZ, .RAR.

.ZIP) shall be decompressed to ensure that a compressed file within a compressed file is

decompressed into the lowest possible compression resulting in individual folders and/or files.

Original compression files and container files need not be produced, provided the responsive

content files are produced in accordance with the specifications of this ESI Protocol.




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         3.23 Custodian or Originating Source. Producing Parties shall make reasonable efforts

to identify the custodian or originating source in the Custodian field of the database load files, as

provided in Exhibit A. Documents found in the possession of a natural person (or on a natural



person. Documents found in the possession of a department, group, entity, or other common

facility (e.g., office, file room, archive, network storage, file share, back-up, hard drive, etc.) shall

be produced in such a fashion as to identify the department, group, entity, or facility. A Producing

Party shall use a uniform description of a particular agreed custodian across productions.

        3.24 Privilege Logs.

        (a)    Pursuant to Rule 26(b)(5) of the Federal Rules of Civil Procedure, the Parties

hereby agree that a Producing Party may withhold or redact a Document if the Document withheld

is protected by attorney-client privilege, the work-product doctrine, or any other applicable

privilege or immunity from disclosure. The Requesting and Producing Parties shall meet and

confer concerning circumstances under which categorical listings may be used. If the Parties

cannot reach agreement concerning the use of categorical listings, any Party may seek relief from

the Court.

        (b)    Where multiple E-mail messages are part of a single chain or thread, the Producing

Party is only required to include on a privilege log the most inclusive message and need not log

earlier, less inclusive E-m

thread, provided that the log entry includes the names of the authors, addressees, and recipients

(including copyees and blind copyees) for all thread members, that the description of the thread

include the nature of the message sufficient to enable the Requesting Party to assess the claim of

privilege for each thread member over which privilege is asserted, and that the log entry include




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the privilege designations applicable to any thread members.

        (c)    If a Producing Party identifies portions of a Document and redacts such portions of

the Document pursuant to Paragraph 3.3 of this ESI Protocol, the Producing Party must log the

fact of redaction except if such redactions are solely to protect PIHI.

        (d)    To the extent a response to discovery requires a Party to provide a production set

from a prior litigation or investigation, the privilege logs from those proceedings/litigations will

be sufficient to inform the Requesting Party of the Documents that were withheld. Any privilege

log from those proceedings/litigations will be produced in the same file format as produced in

those proceedings/litigations, to the extent it still exists in that format, except to the extent that

further redaction or supplementation is appropriate. The Producing Party does not need to re-log

these Documents on another privilege log.

        (e)    The Parties agree to produce, in Excel format, privilege logs(s) associated with any

given production. The Parties shall meet and confer to identify reasonable date(s) for privilege log

production, and the timing of such meet and confers shall be consistent with the development of

further information on scope and timing of productions and depositions. Standard privilege logs

shall conform to the requirements of Federal Rule of Civil Procedure 26(b) and Local Rule 26(e),

and shall include the following categories of information:

                i.   a unique privilege log identifier or, in the case of redacted documents unless

                     no logging is required, the Bates number assigned to such documents

               ii.   the date of the Document or ESI

              iii.   the type of Document or ESI

              iv.    the general subject matter of the Document or ESI sufficient to understand

                     the subject matter of the Document and the basis of the claim of privilege



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               v.    the author or identity of the person(s) who sent the Document or ESI

              vi.    each recipient of the Document or ESI

              vii.   the type or nature of the privilege asserted (i.e., attorney-client privilege or

                     work product doctrine)

        (f)    For ESI, as an alternative to manually entering the information required under this

ESI Protocol, a portion of each

objective metadata from the review tool used to identify privileged or work-product protected

Documents where the objective metadata provides the information required, provided, however,

that: the metadata are reasonably understandable and legible; for E-mail senders or recipients for

which the metadata reveals only an E-mail

                                              provides the identities of the individuals associated

with such E-mail addresses as are reasonably available; and that for E-mail, E-mail and any

attachments are sequentially logged.

        Such metadata shall include the following:

                i.   A unique privilege log identifier or, in the case of redacted documents, the

                     Bates number assigned to such documents

               ii.   Author

              iii.   Custodian

              iv.    File Name

               v.    Email Subject

              vi.    To

              vii.   From



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              viii.   CC

               ix.    BCC

                x.    Dates Sent, Received, or Created

               xi.    Document Type

        (g)     On the face of the privilege log or in a list or other appropriate format served with

the privilege log, the Producing Party shall provide information sufficient for the Requesting

Party to ascertain which of the individuals listed on the log was, as of th

creation, sending, or receipt working in their capacity as an attorney.

        (h)     After the receipt of a privilege log, if a Requesting Party believes in good faith

that one or more items in a Producing Party s privilege log are inappropriately being withheld

and should be produced, then it shall raise the issue as to each log entry with the Producing Party

in writing with sufficient detail so that the Producing Party may understand the Requesting

Party s complaint. Within thirty (30) days thereafter, the Producing Party shall respond in writing.

If the response does not satisfy the Requesting Party, then the Parties shall meet and confer within

twenty-one (21) days of the Producing Party s response and, if the dispute as to the privileged

nature of the materials is not resolved, then the Requesting Party shall promptly seek relief from

the Court as to the specific log entries raised with the Producing Party.

        (i)     The Parties shall not be required to log:

                i.    Privileged communications between a Party or its representative(s) and its

                      internal or outside counsel that are dated after that Party received a subpoena

                      from the U.S. Department of Justice relating to the subject matter of this

                      Action;


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               ii.   Work product created by or at the direction of a Party or its representative(s)

                     internal or outside counsel after the date described above;

              iii.   Joint defense privileged communications or work-product materials after the

                     earliest date described above. This date does not otherwise limit the relevant

                     time period for discovery.

              iv.    Inclusive email threads that are suppressed pursuant to Paragraph 3.7 of this

                     Stipulation and Order.

               v.    Non-responsive privileged family members.

The Parties agree that they will meet and confer at a later time to determine whether any other

categories of privileged Documents can be excluded from the logging requirement.

Notwithstanding the foregoing, and subject to the above provisions, all such privileged material

must be preserved in the event of a later dispute.

 4.     PROCESSING SPECIFICATIONS

        4.1      The Producing Party shall collect and process Documents using reasonable

methods that preserve available data subject to discovery. The Producing Party shall adhere to

the processing specifications in Exhibit A (to the extent reasonably feasible) and shall employ the

following when converting ESI from its Native Format into TIFF image files prior to production:

        (a)      All tracked changes and comments shall be maintained as last saved so that all

                 changes to a Document are evident.

        (b)      All Word Documents shall either include and show field codes for auto-date and

                 auto-time fields or the vendor shall force off Auto Date when processing.

        (c)      Author comments shall remain and be made visible.



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        (d)     Presenter notes shall be made visible.

        (e)     Any other hidden text shall be expanded, extracted, and rendered in the TIFF file,

                including hidden worksheets, hidden columns, hidden rows, speakers notes,

                tracked changes, or comments.

 The Parties reserve their right to request native versions of specific TIFF files if they have a

 reasonable basis to believe that responsive material or metadata may be contained in the native

 file but not in the TIFF file.

        4.2     Time. When processing ESI, a consistent time zone should be selected, with a

preference for UTC if a separate time zone has not otherwise been applied to ESI. When a

metadata field includes a date and/or time, it shall be provided in the format outlined in Exhibit

A. ESI items shall be processed so as to maintain the date/time in the Document s metadata as it

was last saved by the custodian or end user, not the date of collection or processing (i.e., shall

force off Auto Date).

 5.     SCOPE AND SEARCH METHODOLOGIES FOR UNSTRUCTURED DATA

        5.1     In general. Prior to conducting a new search for responsive ESI, regardless of the

search methodologies to be employed, the Requesting Party and Producing Party shall meet and

confer regarding the search methodologies the Producing Party proposes to employ to identify

responsive Documents, and make such reasonable disclosures regarding their proposed search

methodology that will permit the Requesting Party to evaluate the proposed methodology and

enable meaningful meet and confers, such as the type of methodology to be used (e.g., Search

Terms, TAR or other advanced analytics, etc.) and the Custodial Data Sources and Non-Custodial

Data Sources to which they will be applied, along with information sufficient for the Requesting

Party to evaluate the reasonableness of the custodians whose Documents are to be searched, and

the Custodial Data Sources and Non-Custodial Data Sources to be searched. The Producing Party


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shall also provide a list of third-party data sources, if any, that the Party reasonably believes are

likely to contain discoverable Documents.

        5.2     Protocol for Identifying Custodians. After the Producing Party serves its

Responses and Objections to Requests for Production, the Producing Party shall identify its own

proposed individual custodians (including their title) within 21 days. Within 45 days after

Producing Party serves its Responses and Objections to Requests for Production, the Producing

Party will make reasonable efforts to identify

its organization in which the proposed individual custodians worked at the time relevant to the

Requests for Production as well as specific years of service for each proposed individual

custodian, which information may include relevant, readily accessible organizational charts.

Thereafter the Parties will meet and confer to agree as to the individual



        The Parties shall search the relevant files for the Individual Custodians pursuant to the

procedures set out herein.

        5.3     Protocol for Agreeing on Use of Search Filters. Each Party will identify proposed

keyword search terms and date ranges to identify potentially responsive ESI. The meet and confer

process regarding search filters will begin at the same time as the meet and confer process

regarding custodians.

        If a Party has identified particular responsive Document(s) outside of those in the files

of Individual Custodians that are not also independently identified via searches of the files of

Individual Custodians, that Party must still produce the responsive Document(s), subject to any

agreements reached regarding scope and                                                      Nothing

in this ESI Protocol requires a Party to search for Documents outside of the Individual


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Custodians, Non-Custodial Sources and search methodology disclosed hereunder.

         5.4    Additional Search Terms and Custodians. Once a list of search terms and a list

of Individual Custodians is finalized (either through agreement of the Parties, Order of the Court,

or otherwise if a Party does not timely choose to seek a Court Order), a Party may propose

additional custodians or search terms for consideration only if it provides a reasonable and

particularized basis to believe that additional custodians or search terms will lead to the discovery

of responsive material. To the extent the Producing Party identifies any such custodians or

proposed search terms it deems objectionable, the Producing Party shall propose alternative terms

and the Parties shall meet and confer to discuss alternatives.

        5.5                                                                                   . If a

Producing Party elects to use TAR or similar advanced analytics as a means of including or

excluding Documents to be reviewed for responsiveness or of culling or otherwise limiting the

volume of information to be reviewed for responsiveness, prior to use of such tool the Requesting

Party and Producing Party shall disclose to the Requesting Party (1) the Custodial Data Sources

and Non-Custodial Data Sources against which TAR will be run; and (2) the TAR or advanced

analytics vendor and methodology being deployed

procedures and whether the Producing Party proposes to use Search Terms to cull ESI prior to

the application of TAR. The Requesting Party and Producing Party shall thereafter meet and

confer regarding any further disclosures and the appropriateness of the methodology. Any Party

after meeting and conferring in good faith as to TAR may seek resolution by the Court of any

unresolved dispute(s).

        5.6     Hard Copy Documents. In addition to ESI addressed by this provision, the

Producing Party shall perform a reasonable, proportional and diligent search to locate relevant


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non-ESI Documents (i.e., Hard Copy Documents, devices, etc.) for the Individual Custodians and

                                                                                        , or control

not attributed to any specific custodian that the Party identifies following a reasonable,

proportional and diligent investigation.

 6.     ADDITIONAL ISSUES

       If no English version of a Document is available, the Producing Party has no obligation

to produce an English translation of that Document, even if one is generated for litigation

purposes.

 7.      CONFIDENTIALITY

       Documents shall be subject to the terms of the Amended Protective Order entered in this

case, as well as Federal Rule of Civil Procedure 26(b)(5)(B).

 8.      FINAL DISPOSITION OF ESI

       Within sixty (60) days of final adjudication, including the expiration or exhaustion of all

rights to appeal or petitions for extraordinary writs, each Party or non-party to whom any materials

were produced shall, without further request or direction from the Producing Party, promptly take

reasonable steps to destroy all documents, items, or data received including, but not limited to,

copies thereof, in the possession or control of any expert or employee. Any undestroyed materials

shall remain subject to the Protective Order in this matter. The Requesting Party shall upon request

of the Producing Party provide written certification of destruction to the Producing Party.

 9.      AMENDMENT OF ORDER

         Nothing herein shall preclude any Party from seeking to amend this Order in writing,

provided, however, that no Party may seek relief from the Court concerning compliance with




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SO ORDERED.

Dated: _____________, 2022

                                              Hon. Sarala V. Nagala
                                              United States District Judge




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So stipulated and agreed to by the Parties, August 10, 2022



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                                          EXHIBIT A

 1.     COVER LETTER
         A cover letter shall be included with each production and shall include information
sufficient to identify all accompanying media (e.g., hard drive, thumb drive, DVD, CD, secure
FTP), shall identify each production on such media by assigning a Production Volume name or
number, shall indicate whether any material in the production has been designated as
Confidential or Highly Confidential under the Amended Protective Order, and shall include the
Bates range for the Documents produced in each volume.

 2.     PRODUCTION LOAD FILES
        There will be two Load files accompanying all productions of Hard Copy Documents
and ESI.

        The first will be a metadata import file with a .DAT file extension, in Concordance
        format delimited file, including ASCII 020 and 254 delimiters for column break and text
        qualifier, and new line as ASCII 174, that contains the agreed upon metadata fields in
        UTF-8 encoding. The first line shall be the header with field names, and each subsequent
        line shall contain the fielded data for each Document.
        The second will be an image load file containing the Document break instructions for
        the image base. The acceptable formats for the cross-reference files are .lfp and .opt.

 3.     IMAGES
        Produce Documents in Single Page Group IV TIFF.
        Image Resolution of 300 DPI.
        Images may be produced in black and white unless color images are necessary to
        decipher the meaning, context, or content of the Document, or if black and white
        photocopying or conversion to TIFF format makes any substantive information
        contained in the Document unintelligible.

        If a Requesting Party reasonably believes that a particular Document originally produced
        in black and white needs to be produced in color, it shall notify the Producing Party. To
        the extent the original Document was in color, the Producing Party will timely honor
        reasonable requests made in good faith for either the production of the original Document
        for inspection and copying or production of a color JPEG file image of the Document(s).

        File Naming Convention: Match Bates Number of the page.
        Insert placeholder image for files produced in native format (see Paragraph 3.8).
        Insert placeholder image for unprocessable technical-issue family members.
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4.   SPECIAL FILE TYPE INSTRUCTIONS
     Certain file types shall be produced in native format, as specified in Paragraph 3.8.

     If redactions are required, see production requirements specified in Paragraph 3.3.
5.   FULL TEXT EXTRACTION/OCR
     Where available, produce the native extracted text for all file types (Redacted text will
     not be produced). In the event that a Document requires redaction, the Parties agree that
     the native version need not be produced, full text may be replaced with OCR text that
     excludes the redacted material and metadata fields may be excluded if they contain
     redactable information (including Subject and FileName).
     Production format: Single text file for each Document, not one text file per page. The
     relative path to this text file should be populated in the Full Text field listed in section
     6 below.
     File Naming Convention: Match Beg Bates Number.

6.   ESI (AND PAPER TO THE EXTENT APPLICABLE) PRODUCTION
     METADATA FIELDS
     BegBates: Beginning Bates Number.
     EndBates: Ending Bates Number.
     BegAttach: Beginning Bates number of the first Document in attachment range in a
     Document Family range. Documents that are part of Document families, i.e., containing
     parents and attachments should receive a value.
     EndAttach: Ending Bates number of the last Document in attachment range in a
     Document Family range. Documents that are part of Document Families, containing
     parents or attachments, should receive a value.
     AttachmentCount: Populated for E-mail parent records and indicates the number of
     attachments that constitute the whole family.
     Custodian: Name of the Custodian of the Document produced, to the extent reasonable
     and technically available.
     Duplicate Custodian: Identifying any and all unique custodians in whose files an exact
     duplicate Document was found.
     FileName: Filename of the original source ESI.
     NativeLink: Relative path and filename to the produced Native Format file.
     Subject: Subject line extracted from an E-mail message or calendar entry.
     Title: Title field extracted from the metadata of a non-E-mail Document.
     Author: Author field extracted from the metadata of a non-E-mail Document.
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     From: From field extracted from an E-mail message.
     To: To or Recipient field extracted from an E-mail message.
     Cc: CC or Carbon Copy field extracted from an E-mail message.
     BCC: BCC or Blind Carbon Copy field extracted from an E-mail message.
     DateSent: Sent date of an E-mail message (mm/dd/yyyy format).
     TimeSent: Time of an E-mail message (hh:mm:ss format).
     DateReceived: Received date of an E-mail message (mm/dd/yyyy format).
     TimeReceived: Received time of an E-mail message (hh:mm:ss format).
     DateCreated: Creation date of a file (mm/dd/yyyy format).
     TimeCreated: Creation time of a file (hh:mm:ss format).
     DateLastModified: Last modification date and time (mm/dd/yyyy format).
     TimeLastModified: Last modification time (hh:mm:ss format).
     File Extension: File extension of Document (.msg, .doc, .xls, etc.).
     Full Text: Relative file path to the full text/OCR File.
     Confidentiality: Confidential or Highly Confidential, if a Document has been so
     designated under the Protective Order; otherwise, blank.
     Message-ID: The Outlook Message ID assigned by the Outlook mail server, if
     applicable.
     Hash Value: MD5 or SHA-1 hash of the Document.
     Page Count: The number of pages in the file.
     Production Volume: Production volume name or number.
     Redaction: Field indicating whether a document contains redactions.

7.   De-Duplication: Parties shall use reasonable efforts to de-duplicate stand-alone
     Documents or entire Document families globally using MD5 or SHA-1 Hash value
     matching as outlined in Paragraph 3.6.
8.   De-NISTing

     Common system files defined by the NIST library (http://www.nsrl.nist.gov/) need not
     be produced.




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